                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:

ANGELA SWORD LEWIS                                            Chapter 7
THOMAS K. LEWIS                                               Case No. 11-44385-wsd
                                                              Hon. Walter Shapero
                Debtors.
                                              /

                      TRUSTEE'S APPLICATION TO EMPLOY
                 OSIPOV BIGELMAN, P.C. AS COUNSEL FOR TRUSTEE

         NOW COMES Timothy J. Miller, the Chapter 7 Trustee of the Bankruptcy Estate of

Angela Sword Lewis and Thomas K. Lewis, and moves this Court for entry of an Order

Authorizing Employment of Counsel pursuant to B.R. 2014 and 11 U.S.C. §327.

         IN SUPPORT of the application, the Trustee states:

         1.     Angela Sword Lewis and Thomas K. Lewis filed a voluntary petition under

Chapter 7 of the Bankruptcy Code.

         2.     Timothy J. Miller is the duly appointed Chapter 7 Trustee in this case.

         3.     The Trustee wishes to employ the law firm of OSIPOV BIGELMAN, P.C., whose

attorneys are duly admitted to practice in this Court.

         4.     The Trustee requires the advice and assistance of counsel for the following

purposes:

                (a)    To give the Trustee legal advice with respect to his powers and duties;
                (b)    To prepare on behalf of the Trustee all necessary applications, answers,
                       orders, reports and other legal papers;
                (c)    To conduct negotiations with unsecured creditors, secured creditors and
                       taxing authorities;
                (d)    To pursue Chapter 5 causes of action; and
                (e)    To perform all other legal services for the Trustee as may be necessary
                       herein.




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5.      OSIPOV BIGELMAN, P.C.’s Statement of Disinterestedness is attached hereto as

Exhibit B.

        6.      The fees of OSIPOV BIGELMAN, P.C., at present are as follows:

                       Jeffrey H. Bigelman, Esq.      $250.00/hour

                       Yuliy Osipov, Esq.             $250.00/hour

                       Christopher F. Nelson, Esq. $195.00/hour

                       William C. Blasses, Esq.       $195.00/hour

                       Paralegal                      $ 95.00/hour

         Such fees are subject to change. All fees for legal services are subject to Court approval.



        WHEREFORE, the Trustee requests that an Order be entered authorizing it to employ

OSIPOV BIGELMAN, P.C. as his attorneys in this case. A proposed order is attached hereto as

Exhibit A.



                                                      Respectfully submitted,



Dated: May 31, 2011                                   /s/ Timothy J. Miller
                                                      TIMOTHY J. MILLER (P36951)
                                                      Chapter 7 Trustee of the Bankruptcy Estate
                                                      645 Griswold, Suite 3900
                                                      Detroit, Michigan 48226
                                                      (313) 237-0850




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                                                         Hon. Walter Shapero
               Debtors.
                                           /

                    ORDER AUTHORIZING EMPLOYMENT OF
          OSIPOV BIGELMAN, P.C., AS COUNSEL FOR CHAPTER 7 TRUSTEE

         The Chapter 7 Trustee having filed his Application to Employ OSIPOV BIGELMAN,

P.C., as Counsel for Trustee with attached affidavit and the Court being fully advised in the

premises;

         IT IS HEREBY ORDERED that:

         (A)   OSIPOV BIGELMAN, P.C., is authorized to act as counsel for the Trustee in this

case pursuant to the terms and conditions set forth in the Application and its supporting

Affidavit;

         (B)   Compensation may be paid after application and after Court order authorizing

payment.




                                       EXHIBIT A




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ANGELA SWORD LEWIS                                            Chapter 7
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                                                              Hon. Walter Shapero
               Debtors.
                                              /

                          STATEMENT OF DISINTERESTEDNESS

STATE OF MICHIGAN              )
                               ) ss.
COUNTY OF OAKLAND              )

         JEFFREY H. BIGELMAN, being first duly sworn, states as follows:

         1.    I am employed by the Firm of OSIPOV BIGELMAN, P.C., whose offices are

located at 20700 Civic Center Drive, Suite 310, Southfield, Michigan 48076 (the "Firm").

         2.    I am authorized to make this Affidavit on behalf of the Firm.

         3.    To the best of my information, knowledge and belief, neither I nor any member of

the Firm represents or holds any interest adverse to the estate.

         4.    To the best of my information, knowledge and belief, neither I nor any member of

the Firm has any connections with the Debtors, creditors, the Trustee, or any other party in

interest, their respective known attorneys or accountants, the United States Trustee or any other

person employed by the United States Trustee.




                                         EXHIBIT B




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       5.      I have been advised that the Debtors have numerous creditors and, accordingly,

the Firm may have rendered services or had business associations with such creditors or their

counsel in the ordinary course of the Firm's business, but none of these services have been in

connection with, nor impact this proceeding.

       6.      The other members of the Firm and I are "disinterested persons" as such term is

defined in 11 U.S.C. § 101(14) of the Bankruptcy Code.

       7.      The Firm has not made any agreement to share compensation in this case and

affiant knows of no reason why the Firm should not act as attorneys for the Trustee.



                                               OSIPOV BIGELMAN, P.C.


Dated: May 31, 2011                            /s/ Jeffrey H. Bigelman
                                               JEFFREY H. BIGELMAN (P61755)
                                               20700 Civic Center Drive, Ste. 310
                                               Southfield, MI 48076
                                               Tel: (248) 663-1800
                                               Fax: (248) 663-1801
                                               Email: jhb_ecf@osbig.com




Subscribed and sworn to before
me this 31st day of May 2011

/S/ Tijuana Arnita Crawford
Tijuana Arnita Crawford
Notary Public, State of Michigan
County of Wayne
My commission expires: August 23, 2013
Acting in the County of Oakland




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